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                                            Revised Appendix B1



                       Transferring Forum or
                                                           # Of Cases Filed Against TPG
                       Original District Forum
                              Alabama                                       2
                              Arkansas                                     11
                              California                                    2
                              Colorado                                      1
                             Connecticut                                   11
                               Florida                                      3
                              Kentucky                                      1
                              Louisiana                                     20
                                Maine                                      22
                              Missouri                                      1
                           North Carolina                                   3
                             New Jersey                                    22
                              New York                                      56
                                Ohio                                        3
                            Pennsylvania                                    1
                           South Carolina                                   1
                              Tennessee                                     31
                                Texas                                       1
                               Virginia                                     2
                              Wyoming                                       1
                             Total Cases                                   195




  1
      This updated Appendix and the updated Appendix A reflect Plaintiffs’ claims against TPG that have been
      consolidated in the MDL as of July 24, 2023. Any new cases that have been added since TPG served its
      Motion to Dismiss on June 9, 2023 have been highlighted in yellow in the following pages.
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                                                                                                                   Revised Appendix B


                                                                                                                                                                                                                                                     Implant
                                                                                                                                                                                                                                   Original
REF# Plaintiff Name(s)                             MDL Case No.         Transferring Court       Originating Case No.             Transfer Status2             Filing Date      Transfer Date6     Filing State Home State                           Surgery
                                                                                                                                                                                                                                   District3
                                                                                                                                                                                                                                                      State4
  1   Albert, Karen                                 1:23-cv-01965            USDC, ME                 2:23-cv-00085                CTO-21, 3/2/23              2023-02-27          3/16/2023            ME            ME                                ME
  2   Allen, Cynthia & Cal Ostlund                  1:23-cv-01693           USDC, D NJ                2:23-cv-00705                CTO-19, 2/17/23             2023-02-07         2023-03-07            NJ            NJ                                NY
  3   Ames, Marilyn                                 1:23-cv-02673          USDC, ED NY                1:23-cv-02673                  Direct Filed              2023-04-10         2023-04-10            NY            NY              NY
  4   Ametrano, John & Angela                       1:23-cv-02665          USDC, SD NY                7:23-cv-01749                CTO-23, 3/17/23             2023-02-28         2023-04-10            NY            NY              NY
  5   Anderson, Carol L. & Gretchen Henkel          1:23-cv-02950           USDC, D NJ                2:23-cv-01445                CTO-26, 4/12/23             2023-03-14         2023-04-24            NJ            NJ              NJ                NY
  6   Angers, Patrick J.                            1:23-cv-00347          USDC, ED NY                1:23-cv-00347                  Direct Filed              2023-01-18         2023-01-18            NY            LA              LA
                                                   1:23-cv-00939;          USDC, ED NY;              1:23-cv-00939;                                                               2023-02-07;
  7   Anning, Sydney M. & Kevin J. Raidy                                                                                    Direct Filed; CTO-20, 2/27/23      2023-02-07                               NY            NY               NY
                                                    1:23-cv-02310          USDC, SD NY                1:23-cv-01045                                                               2023-03-27
 8    Arnaud, Sue & James                           1:23-cv-00625          USDC, ED NY                1:23-cv-00625                  Direct Filed              2023-01-26         2023-01-26            NY           LA                LA
 9    Atwood, Joseph                                1:23-cv-01955            USDC, ME                 1:23-cv-00086                CTO-21, 3/2/23              2023-02-27         2023-03-23            ME           ME                                 ME
 10   Auguillard, John                              1:23-cv-00976          USDC, ED NY                1:23-cv-00976                  Direct Filed              2023-02-07         2023-02-07            NY           LA               LA*
 11   Baker, Robert                                 1:23-cv-00405          USDC, ED NY                1:23-cv-00405                  Direct Filed              2023-01-20         2023-01-20            NY           LA               LA
 12   Baldwin, Johannah D. & Bernard5               1:23-cv-02311          USDC, SD NY                1:23-cv-01047                CTO-19, 2/17/23             2023-02-07         2023-03-28            NY          VA; FL
 13   Banniza, Larry                                1:23-cv-01377          USDC, MD TN                3:23-cv-00103                CTO-18, 2/13/23             2023-02-03         2023-03-02            TN           TN
 14   Bastien, Myrtha                               1:23-cv-02943           USDC, D CT                3:23-cv-00401                CTO-26, 4/12/23             2023-03-31         2023-04-21            CT           CT                                 CT
 15   Baudoin, Arlene & Douglas                     1:23-cv-00683          USDC, ED NY                1:23-cv-00683                  Direct Filed              2023-01-31         2023-01-31            NY           LA                LA
 16   Beaudin, Leo                                  1:23-cv-01956           USDC, D ME                1:23-cv-00087                CTO-21, 3/2/23              2023-02-27         2023-03-23            ME           ME                                ME
 17   Beer, Josef & Sheila                          1:23-cv-02956           USDC, D NJ                3:23-cv-01385                CTO-26, 4/12/23             2023-03-13          4/21/2023            NJ           NJ                NJ             NY, CT
 18   Bellone, Allan & Lucille                      1:22-cv-06776          USDC, ED NY                1:22-cv-06776                  Direct Filed              2022-11-07         2002-11-07            NY           NY                NY
 19   Berger, Lawrence                              1:22-cv-06449          USDC, ND GA                1:22-cv-04043                CTO-2, 10/21/22             2022-10-07         2022-10-24            GA           GA                                 GA
 20   Bindel, Patrice                               2:22-cv-04142          USDC, ED NY                2:22-cv-04142                  Direct Filed              2022-07-14         2022-10-18            NY           NY               NY
 21   Bourque, Michael & Barbara                    1:23-cv-03318          USDC, ED NY                1:23-cv-03318                  Direct Filed              2023-05-02         2023-05-02            NY           LA               LA
 22   Brady, Garry                                  1:23-cv-03333          USDC, ED NY                1:23-cv-03333                  Direct Filed              2023-05-10         2023-05-10            NY           SC               SC                FL
 23   Breaux, Ronald & Mary Grace                   1:23-cv-03274          USDC, ED NY                1:23-cv-03274                  Direct Filed              2023-05-01         2023-05-01            NY           LA               LA
 24   Brennan, Robert G.                            1:23-cv-02463          USDC, ED NY                1:23-cv-02463                  Direct Filed              2023-03-30         2023-03-30            NY           NY               NY*
 25   Bukulmez, Sharon                              1:23-cv-01957            USDC, ME                 1:23-cv-00088                CTO-21, 3/2/23              2023-02-27         2023-03-23            ME           ME                                 ME
 26   Cadaret, Cheryl & Albert                      1:23-cv-03512          USDC, ED NY                1:23-cv-03512                  Direct Filed              2023-05-10         2023-05-10            NY           VA               VA
 27   Capetola, Anthony & Julianne                  1:23-cv-02474          USDC, ED NY                1:23-cv-02474                  Direct Filed              2023-03-31         2023-03-31            NY           NY               NY*
 28   Carlton, Peggy & Clay                         1:23-cv-02398          USDC, MD TN                3:23-cv-00212                CTO-23, 3/17/23             2023-03-09         2023-03-31            TN           TN               TN
 29   Carolina, Laquiesha                           1:22-cv-06457           USDC, D CO                1:22-cv-01511                CTO-1, 10/20/22             2022-06-16         2022-10-25            CO           CO                                 CO
 30   Carr, James & Christie                        1:23-cv-03293          USDC, ED NY                1:23-cv-03293                  Direct Filed              2023-05-10         2023-05-10            NY           AR                AR               AR

 2. Any cases that were directly filed in the MDL are classified as “Direct Filed.” All other cases are classified as “CTO” along with a citation to the relevant Conditional Transfer Orders transferring these cases into the MDL.

 3. Pursuant to this Court’s Direct Filing Order “any Plaintiff who files a complaint directly in this Court … shall designate in the Master Short Form Complaint the federal district in which the complaint should be deemed to have otherwise been
 originally filed absent this Direct Filing Order (hereinafter, the ‘Original District’).” ECF No. 74 at 2. The “Original District” column is therefore populated only for Plaintiffs who filed directly in the MDL. Certain of those Plaintiffs either did not
 identify an “Original District” or identified more than one “Original District.” These Plaintiffs have been identified with an asterisk (*). For purposes of this analysis only and reserving all rights, the TPG Defendants assume the “Original District”
 would be the state the Plaintiff resided in at the time of filing.

 4. The “Implant Surgery State” column is populated only for Plaintiffs who filed in forums where the situs of injury may be relevant for the choice-of-law analysis. See Rev’d App’x A (identifying such states). Certain Plaintiffs did not indicate the
 location of the implant surgery either as directed in the Short Form Complaint or in the complaint they filed in the transferor forum. These Plaintiffs have been identified with a double asterisk (**) and for purposes of this analysis only and reserving
 all rights, the TPG Defendants assume the implant surgery location is the state these Plaintiffs resided in at the time of filing.

 5. Plaintiffs highlighted in light red were included in Appendix A served with TPG Defendants' opening brief on June 9, 2023, but are no longer subject to TPG's Motion to Dismiss because they do not have pending claims against TPG, including
 because certain of these Plaintiffs have already voluntarily dismissed their claims against the TPG Defendants. These cases have been excluded from TPG's summary case count. See infra at 1. Certain additional Plaintiffs either (1) do not properly
 name the TPG Defendant(s) in their complaints but have executed a summons to the TPG Defendant(s) (e.g., Plaintiffs Andrew & Donna Kraus) or (2) name the TPG Defendant(s) in their complaints but have not properly executed a summons to
 the TPG Defendant(s) (e.g., Plaintiff Gregory Rhodes). While TPG maintains that these pleadings are deficient, TPG includes them in this Appendix for the Court’s reference. These cases have been included in TPG's summary case count and are
 not highlighted in light red. See id.

 6. For the Plaintiff without a “Transfer Date” listed, that Plaintiff did not yet have an associated case on PACER related to their MDL Case No. as of July 24, 2023.
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                                                                                               Revised Appendix B


                                                                                                                                                                                                  Implant
                                                                                                                                                                                      Original
REF# Plaintiff Name(s)5                    MDL Case No.    Transferring Court   Originating Case No.     Transfer Status2    Filing Date   Transfer Date6   Filing State Home State               Surgery
                                                                                                                                                                                      District3
                                                                                                                                                                                                   State4
 31   Carter, Tamerlane                    1:23-cv-04143     USDC, ED NY           1:23-cv-04143           Direct Filed      2023-06-05     2023-06-05         NY           TX           TX
 32   Castonguay, Joanne                   1:23-cv-01958      USDC, ME             1:23-cv-00089         CTO-21, 3/2/23      2023-02-27     2023-03-23         ME           ME                      ME
 33   Chick, Willis                        1:23-cv-01959      USDC, ME             1:23-cv-00090         CTO-21, 3/2/23      2023-02-27     2023-03-20         ME           ME                      ME
 34   Christie, Todd & Andrea              1:23-cv-01694      USDC, D NJ           2:23-cv-00709         CTO-19, 2/17/23     2023-02-07     2023-03-07         NJ           NJ          NJ          NY
 35   Ciasullo, Thomas & Robin             1:23-cv-00688     USDC, ED NY           1:23-cv-00688           Direct Filed      2023-01-31     2023-01-31         NY           NJ          NJ*         NY
 36   Codd, Luann                          1:23-cv-01692      USDC, D NJ           2:23-cv-00701         CTO-19, 2/17/23     2023-02-07     2023-03-06         NJ           NJ          NJ          NY
 37   Competiello, Grace & John            1:23-cv-00812     USDC, ED NY           1:23-cv-00812           Direct Filed      2023-02-02     2023-02-02         NY           NY          NY
 38   Constantin, Lloyd                    1:23-cv-03323     USDC, ED NY           1:23-cv-03323           Direct Filed      2023-05-02     2023-05-02         NY           LA          LA
 39   Costello, Stanley                    1:23-cv-01966      USDC, ME             2:23-cv-00091         CTO-21, 3/2/23      2023-02-27     2023-03-16         ME           ME                      ME
 40   Cullum, Robert J.                    1:22-cv-07789     USDC, SD NY           1:22-cv-10154         CTO-10, 12/6/22     2022-11-30     2022-12-21         NY           NY          NY
 41   Davis, Jason R.                      1:23-cv-01314     USDC, ED NY           1:23-cv-01314           Direct Filed      2023-02-17     2023-02-17         NY           NC          NC          NC
 42   Deutsch, Rivkah & Jacob              1:23-cv-00325     USDC, SD NY           7:22-cv-10790         CTO-13, 1/6/23      2022-12-21     2023-02-02         NY           NY          NY
 43   D'Orazio, Sante                      1:23-cv-03424     USDC, ED NY           1:23-cv-03424           Direct Filed      2023-05-05     2023-05-05         NY           NY          NY
 44   Dos Santos, Sarah                    1:23-cv-01754       USDC, ME            1:23-cv-00082         CTO-20, 2/27/23     2023-02-24     2023-03-10         ME           ME                      ME
 45   Drake, Mildred                       1:23-cv-00796     USDC, ED NY           1:23-cv-00796           Direct Filed      2023-02-02     2023-02-02         NY           PA           PA         PA
 46   Dumeny, Ricky                        1:23-cv-01960      USDC, ME             1:23-cv-00092         CTO-21, 3/2/23      2023-02-27     2023-03-20         ME           ME                      ME
 47   Dunleavy, Paul & Wendy               1:22-cv-06987      USDC, D NJ           3:22-cv-06305         CTO-5, 11/3/22      2022-10-27     2022-11-15         NJ           NJ           NJ         NY
 48   Dunn, Patrick                        1:23-cv-01967      USDC, ME             2:23-cv-00093         CTO-21, 3/2/23      2023-02-27     2023-03-16         ME           ME                      ME
 49   Eccles, Robert                       1:23-cv-01968      USDC, ME             2:23-cv-00094         CTO-21, 3/2/23      2023-02-27     2023-03-16         ME           ME                      ME
 50   Ehrbar, Barbara                      1:23-cv-01437     USDC, ED NY           1:23-cv-01437           Direct Filed      2023-02-23     2023-02-23         NY           NY          NY*
 51   Euler, Cheryl & Scott                1:23-cv-00624     USDC, ED NY           1:23-cv-00624           Direct Filed      2023-01-27     2023-01-27         NY           TN          TN
 52   Florio, Carol                        1:23-cv-00913     USDC, ED NY           1:23-cv-00913           Direct Filed      2023-02-06     2023-02-06         NY           NY          NY*
 53   Florio, John & Virginia              1:23-cv-01932     USDC, ED NY           1:23-cv-01932           Direct Filed      2023-03-14     2023-03-14         NY           NY          NY
 54   Francia, Richard                     1:23-cv-03927      USDC, D CT           3:23-cv-00471         CTO-29, 5/18/23     2023-04-14     2023-05-31         CT           CT                      NY
 55   Gallagher, Kevin                     1:23-cv-01018     USDC, ED NY           1:23-cv-01018           Direct Filed      2023-02-07     2023-02-07         NY           NC           NC         NY
 56   Gardner, LaDonna & Jamaron Martin    1:23-cv-01378     USDC, MD TN           3:23-cv-00115         CTO-18, 2/13/23     2023-02-07     2023-03-16         TN           TN
 57   Giamundo, Criselda                   1:23-cv-01008     USDC, ED NY           1:23-cv-01008           Direct Filed      2023-02-07     2023-02-07         NY           NY          NY
 58   Giordano, Michael                    1:23-cv-03925      USDC, D CT           3:23-cv-00457         CTO-29, 5/18/23     2023-04-11     2023-06-05         CT           CT                      NY
 59   Glass, Leneatha Carole & Steven      1:22-cv-07408     USDC, MD TN           3:22-cv-00894         CTO-6, 11/9/22      2022-11-07     2022-12-07         TN           TN           TN
 60   Golly, Lisa                          1:23-cv-00343     USDC, ED NY           1:23-cv-00343           Direct Filed      2023-01-18     2023-01-18         NY           LA           LA
 61   Gordon, Mark                         1:23-cv-01755       USDC, ME            1:23-cv-00083         CTO-20, 2/27/23     2023-02-24     2023-03-10         ME           ME                      ME
 62   Grogan, Gary & Eileen                1:23-cv-01695      USDC, D NJ           2:23-cv-00711         CTO-19, 2/17/23     2023-02-07     2023-03-07         NJ           NJ                      NY
 63   Hannan, Daniel T. & Christina        1:23-cv-01575     USDC, ED NY           1:23-cv-01575           Direct Filed      2023-02-28     2023-02-28         NY           NY          NY
 64   Hargrave, Pamala G. & Richard O.     1:23-cv-03935     USDC, SD NY           7:23-cv-03034         CTO-29, 5/18/23     2023-04-11     2023-05-18         NY           NY          NY
 65   Harrison, Danny & Phyllis            1:23-cv-03157     USDC, ED NY           1:23-cv-03157           Direct Filed      2023-04-26     2023-04-26         NY           NC          NC          OH
 66   Hassell III, Alvin David & Leticia   1:23-cv-02972     USDC, MD TN           3:23-cv-00281         CTO-26, 4/12/23     2023-03-28     2023-05-23         TN           TN
 67   Hilson, William Edwin                1:23-cv-03926      USDC, D CT           3:23-cv-00469         CTO-29, 5/18/23     2023-04-14     2023-05-30         CT           CT                      NY
 68   Hoff, Chet & Elizabeth               1:23-cv-03822     USDC, ED NY           1:23-cv-03822           Direct Filed      2023-05-22     2023-05-22         NY           NY          NY
 69   Hoffman, Joan                        1:23-cv-01709     USDC, ED NY           1:23-cv-01709           Direct Filed      2023-03-06     2023-03-06         NY           NY          NY*
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                                                                                            #: 5263


                                                                                             Revised Appendix B


                                                                                                                                                                                                Implant
                                                                                                                                                                                    Original
REF# Plaintiff Name(s)5                  MDL Case No.    Transferring Court   Originating Case No.     Transfer Status2    Filing Date   Transfer Date6   Filing State Home State               Surgery
                                                                                                                                                                                    District3
                                                                                                                                                                                                 State4
 70 Hofmann, Ryan & Marina               1:23-cv-03485     USDC, ED NY           1:23-cv-03485           Direct Filed      2023-05-09     2023-05-09         NY           NY          NY
 71 Holzhauser, Lawrence & Elizabeth     1:23-cv-03725     USDC, ED NY           1:23-cv-03725           Direct Filed      2023-05-18     2023-05-18         NY           CA          CA
 72 Hursey, Billy                        1:22-cv-07893     USDC, MD TN           3:22-cv-01020         CTO-12, 12/20/22    2022-12-14     2023-01-05         TN           TN          TN
 73 Hyde, Holly                          1:23-cv-01970      USDC, ME             2:23-cv-00096          CTO-21, 3/2/23     2023-02-27     2023-03-16         ME           ME                      ME
 74 Johns, Ella Trappey & Robert Regan   1:23-cv-03398     USDC, ED NY           1:23-cv-03398           Direct Filed      2023-05-08     2023-05-08         NY           LA          LA
 75 Kilgore, Kenneth                     1:23-cv-03626     USDC, ED NY           1:23-cv-03626           Direct Filed      2023-05-15     2023-05-15         NY           TN          FL
 76 Kirsch, Harry & Nechama              1:23-cv-03937     USDC, SD NY           7:23-cv-03039         CTO-29, 5/18/23     2023-04-11     2023-05-18         NY           NY          NY
 77 Kolinski, Alison                     1:23-cv-02314     USDC, SD NY           7:23-cv-01049         CTO-19, 2/17/23     2023-02-07     2023-03-27         NY           NY          NY
 78 Komin, Hanna & David                 1:23-cv-03930      USDC, D NJ           3:23-cv-02013         CTO-29, 5/18/23     2023-04-10     2023-05-26         NJ           NJ                      NY
 79 Kraus, Andrew & Donna                1:23-cv-02967     USDC, SD NY           1:23-cv-02065         CTO-26, 4/12/23     2023-03-13     2023-04-28         NY           NY
 80 La Rosa, Bridget & James Majeski     1:23-cv-00835     USDC, ED NY           1:23-cv-00835           Direct Filed      2023-02-03     2023-02-03         NY           CT           CT       NY, CT
 81 Laks, Isidore                        1:23-cv-01697      USDC, D NJ           2:23-cv-00714         CTO-19, 2/17/23     2023-02-07     2023-03-07         NJ           NJ                     NY
 82 LaPoint, Darrell & Melinda           1:23-cv-00701     USDC, ED NY           1:23-cv-00701           Direct Filed      2023-01-31     2023-01-31         NY           LA          LA
 83 Latiolais, Kathleen                  1:23-cv-00426     USDC, ED NY           1:23-cv-00426           Direct Filed      2023-01-20     2023-01-20         NY           LA          LA
 84 Leddy, Brendan & Patricia            1:23-cv-00929     USDC, ED NY           1:23-cv-00929           Direct Filed      2023-02-06     2023-02-06         NY           NY          NY
 85 Lempner, Robert W. & Kathleen        1:23-cv-04142     USDC, ED NY           1:23-cv-04142           Direct Filed      2023-06-05     2023-06-05         NY           OH          OH          OH
 86 Leto, Peter & Tracy                  1:23-cv-03929      USDC, D NJ           2:23-cv-02031         CTO-29, 5/18/23     2023-04-10     2023-05-30         NJ           NJ                      NY
 87 Lewis, Ronald & Lisa                 1:23-cv-00804     USDC, ED NY           1:23-cv-00804           Direct Filed      2023-02-02     2023-02-02         NY           NY          NY
 88 Lueders, Carl                        1:23-cv-01969      USDC, ME             2:23-cv-00095          CTO-21, 3/2/23     2023-02-27     2023-03-16         ME           ME                      ME
 89 Maguire, Martin & Margaret           1:23-cv-00714     USDC, ED NY           1:23-cv-00714           Direct Filed      2023-01-31     2023-01-31         NY           NY          NY
 90 Mancini, Kathleen & Thomas R.        1:23-cv-02378       USDC, NJ            2:23-cv-01170         CTO-23, 3/17/23     2023-02-28     2023-03-29         NJ           NJ                      NY
 91 Mank, Richard                        1:23-cv-01961      USDC, ME             1:23-cv-00097          CTO-21, 3/2/23     2023-02-27     2023-03-20         ME           ME                      ME
 92 Marinello, Michelle                  1:23-cv-02964       USDC, NJ            3:23-cv-01388         CTO-26, 4/12/23     2023-03-13     2023-04-21         NJ           NJ                      NY
 93 Martin, Dena                         1:23-cv-01971      USDC, ME             2:23-cv-00098          CTO-21, 3/2/23     2023-02-27     2023-03-16         ME           ME                      ME
 94 Masi, Daniel & Diane                 1:23-cv-02381       USDC, NJ            2:23-cv-01172         CTO-23, 3/17/23     2023-02-28     2023-03-30         NJ           NJ                      NY
 95 Matchett, Christopher & Rebecca      1:22-cv-06428     USDC, SD NY           1:22-cv-05864         CTO-1, 10/20/22     2022-07-09     2022-10-24         NY           NY          NY
 96 Matthews, Donnie & Donna             1:23-cv-02973     USDC, MD TN           3:23-cv-00282         CTO-26, 4/12/23     2023-03-28     2023-05-23         TN           TN
 97 Mayo, Andrew                         1:23-cv-01698      USDC, D NJ           2:23-cv-00712         CTO-19, 2/17/23     2023-02-07     2023-03-07         NJ           NJ                      NY
 98 McClean, Robert K.                   1:23-cv-02969     USDC, SD NY           1:23-cv-02826         CTO-26, 4/12/23     2023-04-04     2023-04-28         NY           NY
 99 McDermott, Lucia B.                  1:23-cv-02942     USDC, SD AL           1:23-cv-00118         CTO-26, 4/12/23     2023-04-06     2023-04-21         AL           AL                      AL
100 McGear, Cynthia & Chester            1:23-cv-02139     USDC, ED AR           4:23-cv-00168         CTO-22, 3/10/23     2023-03-03     2023-03-21         AR           AR                     AR**
101 Mitchell, Nancy                      1:23-cv-01962      USDC, ME             1:23-cv-00099          CTO-21, 3/2/23     2023-02-27     2023-03-20         ME           ME                      ME
102 Monaco, Charles & Ninon Trudell      1:23-cv-01900     USDC, ED NY           1:23-cv-01900           Direct Filed      2023-03-13     2023-03-13         NY           NY          NY
103 Moore, Angelette Waters & Victor     1:23-cv-01696      USDC, D NJ           2:23-cv-00713         CTO-19, 2/17/23     2023-02-07     2023-03-07         NJ           NJ                      NY
104 Moore, Robert & Amy                  1:23-cv-01376     USDC, MD TN           3:23-cv-00102         CTO-18, 2/13/23     2023-02-03     2023-03-02         TN           TN          TN
105 Morgan, Anthony & Emily              1:23-cv-01024     USDC, ED NY           1:23-cv-01024           Direct Filed      2023-02-08     2023-02-08         NY           LA          LA*
106 Murphy, Jacqueline & Thomas          1:23-cv-00718     USDC, ED NY           1:23-cv-00718           Direct Filed      2023-01-31     2023-01-31         NY           NY          NY*
107 Nuzzo, Keith                         1:23-cv-01963      USDC, ME             1:23-cv-00100          CTO-21, 3/2/23     2023-02-27     2023-03-16         ME           ME                      ME
108 Overton, Nathan & Patricia           1:23-cv-03669     USDC, MD TN           3:23-cv-00435          CTO-28, 5/9/23     2023-05-02     2023-05-09         TN           TN
                                        Case 1:22-md-03044-NGG-MMH                        Document 376-20                     Filed 07/28/23              Page 5 of 7 PageID
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                                                                                                Revised Appendix B


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REF# Plaintiff Name(s)5                    MDL Case No.     Transferring Court   Originating Case No.         Transfer Status2            Filing Date   Transfer Date6   Filing State Home State               Surgery
                                                                                                                                                                                                   District3
                                                                                                                                                                                                                State4
109 Perez, Miroslabia                       1:22-cv-06456     USDC, SD NY           1:22-cv-05863               CTO-1, 10/20/22           2022-07-09     2022-10-25         NY          NY           NY
110 Plaisance, Cindy                        1:23-cv-01374     USDC, ED LA           2:23-cv-00456               CTO-18, 2/13/23           2023-02-06     2023-02-24         LA           LA
111 Poussard, Roland                        1:23-cv-01972       USDC, ME            2:23-cv-00101               CTO-21, 3/2/23            2023-02-27     2023-03-16         ME          ME                       ME
112 Poynor, Karen & Brian                   1:23-cv-02899     USDC, ED NY           1:23-cv-02899                 Direct Filed            2023-04-19     2023-04-19         NY           TN          TN
113 Pravin, Faina                           1:22-cv-06086      USDC, D CT           3:22-cv-00682       Initial Transfer Order, 10/7/22   2022-05-19     2022-10-18         CT           CT          CT          NY
114 Prime, Hedwig                           1:23-cv-03934     USDC, ND NY           3:23-cv-00447               CTO-29, 5/18/23           2023-04-11     2023-05-30         NY          NY           NY
115 Proscia, Christopher & Rosemary         1:22-cv-07165     USDC, ED NY           1:22-cv-07165                 Direct Filed            2022-11-23     2022-11-28         NY          NY           NY
116 Reilly, John & Eileen McCauley          1:23-cv-03443     USDC, ED NY           1:23-cv-03443                 Direct Filed            2023-05-08     2023-05-08         NY          NY           NY
117 Reyes, Carmen M.                        1:23-cv-02664     USDC, SD NY           1:23-cv-01746               CTO-23, 3/17/23           2023-02-28     2023-04-10         NY       Puerto Rico
118 Reynolds, Frank & Jody                  1:23-cv-02379       USDC, NJ            2:23-cv-01171               CTO-23, 3/17/23           2023-02-28     2023-03-30         NJ           NJ                      NY
119 Rhodes, Gregory                         1:23-cv-01577     USDC, ED NY           1:23-cv-01577                 Direct Filed            2023-02-28     2023-02-28         NY           AL           AL         AL
120 Rich, Anders & Sasha Nanus              1:23-cv-02968     USDC, SD NY           1:23-cv-02714               CTO-26, 4/12/23           2023-03-31     2023-04-28         NY           NY
121 Roberts, Jeffrey & Lynn                 1:23-cv-02907     USDC, ED NY           1:23-cv-02907                 Direct Filed            2023-04-19     2023-04-19         NY           TN           TN
122 Rohrer, Maretta & John                  1:23-cv-03939     USDC, MD TN           3:23-cv-00355               CTO-29, 5/18/23           2023-04-14     2023-05-30         TN           TN
123 Roman, Victor M. & Romona               1:23-cv-02944      USDC, D CT           3:23-cv-00403               CTO-26, 4/12/23           2023-03-31     2023-04-24         CT           CT                      CT
124 Rosato, Patrice & Daniel                1:23-cv-02382       USDC, NJ            2:23-cv-01201               CTO-23, 3/17/23           2023-03-01     2023-03-30         NJ           NJ          NJ          NY
125 Ross, Mary Christina                    1:22-cv-07407     USDC, MD TN           3:22-cv-00928               CTO-9, 11/18/22           2022-11-15     2022-12-07         TN           TN          TN
126 Rotchford, Janet & Philip               1:23-cv-03427     USDC, ED NY           1:23-cv-03427                 Direct Filed            2023-05-05     2023-05-05         NY           NJ          NJ          NY
127 Rozenberg, Dina & Alex                  1:23-cv-03150     USDC, ED NY           1:23-cv-03150                 Direct Filed            2023-04-26     2023-04-26         NY          NY           NY
128 Ryan, Thomas & Kathy                    1:23-cv-03727     USDC, ED NY           1:23-cv-03727                 Direct Filed            2023-05-18     2023-05-18         NY           NJ          NY
129 Scafidi, Vincent Jr.                    1:23-cv-00720     USDC, ED NY           1:23-cv-00720                 Direct Filed            2023-01-31     2023-01-31         NY          NY           NY
130 Schieler, Charles                       1:23-cv-04079     USDC, ED NY           1:23-cv-04079                 Direct Filed            2023-06-01     2023-06-01         NY          NY           NY
131 Schrott, Susan & Jonathan               1:22-cv-07633     USDC, ED NY           1:22-cv-07633                 Direct Filed            2022-12-15     2022-12-16         NY          NY           NY
132 Sekula, Abraham & Rachel                1:23-cv-00866     USDC, ED NY           1:23-cv-00866                 Direct Filed            2023-02-04     2023-02-04         NY          NY           NY
133 Sellers, Debra & Angela Thomas          1:23-cv-00495     USDC, ED NY           1:23-cv-00495                 Direct Filed            2023-01-24     2023-01-24         NY           LA          LA
134 Sentz, Robert & Colleen                 1:23-cv-02385     USDC, MD TN           1:23-cv-00012               CTO-23, 3/17/23           2023-03-07     2023-03-31         TN           TN
135 Sherry, Gerard                          1:23-cv-02480     USDC, ED NY           1:23-cv-02480                 Direct Filed            2023-03-31     2023-03-31         NY          NY           NY*
136 Siegel, Stuart                          1:23-cv-02971     USDC, SD NY           7:23-cv-02740               CTO-26, 4/12/23           2023-03-31     2023-04-28         NY          NY
137 Silatchom Foyou, Francois De Paul       1:23-cv-00933     USDC, ED NY           1:23-cv-00933                 Direct Filed            2023-02-06     2023-02-06         NY          NY           NY
138 Simpson, Donna                          1:23-cv-01756     USDC, D ME            2:23-cv-00084               CTO-20, 2/27/23           2023-02-24     2023-03-10         ME          ME                       ME
139 Slon, Jonathan & Renee                  1:23-cv-04028     USDC, ED NY           1:23-cv-04028                 Direct Filed            2023-05-31     2023-05-31         NY          NY           NY
140 Smotherman, Glenda & Horace             1:23-cv-04159     USDC, ED NY           1:23-cv-04159                 Direct Filed            2023-06-06     2023-06-06         NY           TN          TN
141 St. Julien, Alzina & Curtis             1:23-cv-03190     USDC, ED NY           1:23-cv-03190                 Direct Filed            2023-04-27     2023-04-27         NY           LA        LA*, DE*
142 Taylor, Julian & Barbara                1:22-cv-06819     USDC, ED AR           4:22-cv-01020               CTO-4, 10/26/22           2022-10-21     2022-11-08         AR           AR          AR          AR
143 Teatom, James                           1:22-cv-06022     USDC, ED NY           1:22-cv-06022                 Direct Filed            2022-10-07     2022-10-18         NY          NY           NY
144 Tester, Sandra & Morris                 1:22-cv-07222     USDC, ED AR           4:22-cv-01100               CTO-9, 11/18/22           2022-11-15     2022-11-29         AR           AR                      AR
145 Tujague, Jr., John                      1:23-cv-03724     USDC, ED NY           1:23-cv-03724                 Direct Filed            2023-05-18     2023-05-18         NY           LA          LA
146 Turner, Karen                           1:23-cv-00723     USDC, ED NY           1:23-cv-00723                 Direct Filed            2023-01-31     2023-01-31         NY          NY           KY          TN
147 Varneckas, Elaine                       1:23-cv-02953       USDC, NJ            2:23-cv-01507               CTO-26, 4/12/23           2023-03-17     2023-04-24         NJ           NJ          NJ          NY
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REF# Plaintiff Name(s)5                MDL Case No.      Transferring Court   Originating Case No.         Transfer Status2          Filing Date   Transfer Date6   Filing State Home State               Surgery
                                                                                                                                                                                              District3
                                                                                                                                                                                                           State4
148 Veilleux, Eugene                    1:23-cv-01973       USDC, ME             2:23-cv-00102             CTO-21, 3/2/23             2023-02-27    2023-03-16         ME           ME                      ME
149 Veneziano, Pasquale & Cynthia       1:23-cv-01699       USDC, D NJ           2:23-cv-00715             CTO-19, 2/17/23            2023-02-07    2023-03-07         NJ           NJ                      NY
150 von Euler, Sharon & Bjorn           1:22-cv-07197      USDC, SD NY           1:22-cv-09495             CTO-7, 11/14/22            2022-11-07    2022-11-28         NY           NJ          NY
151 Wachsler, Susanna                   1:23-cv-02315      USDC, SD NY           1:23-cv-01048             CTO-19, 2/17/23            2023-02-07    2023-03-27         NY           NY
152 Wall, Lynda                         1:23-cv-02948       USDC, D NJ           2:23-cv-01389             CTO-26, 4/12/23            2023-03-13    2023-04-21         NY           NJ
153 Walsh, Susan & Michael              1:23-cv-02949       USDC, D NJ           2:23-cv-01396             CTO-26, 4/12/23            2023-03-13    2023-04-24         NY           NJ
154 Walsh, Thomas & Maryann             1:23-cv-03107      USDC, ED NY           1:23-cv-03107               Direct Filed             2023-04-24    2023-04-24         NY           NY          NY
155 Watkins, Patrick                    1:23-cv-03668      USDC, MD TN           3:23-cv-00328             CTO-28, 5/9/23             2023-04-13    2023-05-22         TN           TN
156 White, Lori & Doug                  1:23-cv-02974      USDC, MD TN           3:23-cv-00283             CTO-26, 4/12/23            2023-03-28    2023-04-24         TN           OK           TN
157 Wills, Stanley                      1:23-cv-01964       USDC, ME             1:23-cv-00103             CTO-21, 3/2/23             2023-02-27    2023-03-16         ME           ME                      ME
158 Witek, Pier & Michael               1:23-cv-00337      USDC, ED NY           1:23-cv-00337               Direct Filed             2023-01-18    2023-01-18         NY           NY          NY
159 Yegparian, Aznive & Vram            1:23-cv-03931       USDC, D NJ           3:23-cv-02029             CTO-29, 5/18/23            2023-04-10    2023-05-26         NJ           NJ                      NY
                                        1:23-cv-00877;                           1:23-cv-00877;                                      2023-02-05;    2023-02-05;
160 Yeotsas, Helen & Dimitri                               USDC, ED NY                                       Direct Filed                                              NY           CT          CT*         CT
                                        1:23-cv-03122                            1:23-cv-03122                                        2023-04-25    2023-04-25
161 Young-Borra, Paula                  1:23-cv-01375      USDC, SD NY           7:23-cv-01040            CTO-18, 2/13/23             2023-02-07    2023-02-24        NY            NY          NY
162 Yuzzi, Jacqueline                   1:23-cv-01700      USDC, ND NY           3:23-cv-00180            CTO-19, 2/17/23             2023-02-09    2023-03-06        NY            NY          NY
163 Zaremba, William & Katherine        1:23-cv-02966      USDC, SD NY           1:23-cv-02055            CTO-26, 4/12/23             2023-03-10    2023-04-24        NY            NY
164 Andrialis, Robert                   1:23-cv-04817      USDC, ED NY           1:23-cv-04817               Direct Filed             2023-06-28    2023-06-28         NY           NY          NY
165 Bach, Jerilynn                      1:23-cv-04604      USDC, ED NY           1:23-cv-04604               Direct Filed             2023-06-21    2023-06-21         NJ           NY          NY
166 Burt, Darryl                        1:23-cv-04280      USDC, ED NY           1:23-cv-04280               Direct Filed             2023-06-09    2023-06-09         NY           VA          VA
167 Byrne, Patrick                      1:23-cv-04684      USDC, ED NY           1:23-cv-04684               Direct Filed             2023-06-23    2023-06-23        NY            NY          NY
168 Cardello, Salvatore & Selena        1:23-cv-05451      USDC, ED NY           1:23-cv-05451               Direct Filed             2023-07-19    2023-07-19        NY            CT          CT          CT
169 Cheramie, Gary J.                   1:22-cv-06372      USDC, ED LA           2:22-cv-03168       CTO-1, 10/21/22; Direct Filed    2022-09-08    2022-10-21       LA; NY         LA          LA
170 Collins, Patrick                    1:23-cv-03917      USDC, ED NY           1:23-cv-03917               Direct Filed             2023-05-25    2023-05-25        NY            LA          LA
171 Conover, Michael J.                 1:23-cv-05458      USDC, ED NY           1:23-cv-05458               Direct Filed            2023-07-19     2023-07-19        NY            CT          CT          CT
172 Davis, Jacky                        1:23-cv-01757      USDC, MD TN           3:23-cv-00629            CTO-32, 7/17/23             2023-06-20    2023-07-18         TN           TN
173 Deville, Joseph                     1:23-cv-03942      USDC, ED NY           1:23-cv-03942               Direct Filed             2023-05-26    2023-05-26        NY            LA           FL
174 Dorsey, Deborah                     1:23-cv-04662      USDC, ED NY           1:23-cv-04662               Direct Filed             2023-06-22    2023-06-22        NY            AR           AR         AR
175 Ervin, Rhonda L.                    1:23-cv-04430      USDC, ED NY           1:23-cv-04430               Direct Filed             2023-06-15    2023-06-15         NY           TN           TN
176 Harris, Tony                        1:23-cv-04676      USDC, ED NY           1:23-cv-04676               Direct Filed             2023-06-23    2023-06-23        NY            AR           AR         AR
177 Hebert, Lisa Ann                    1:23-cv-03876      USDC, ED NY           1:23-cv-03876               Direct Filed             2023-05-24    2023-05-24        NY            LA           LA
178 Hicks, Sr., Richard                 1:23-cv-04954      USDC, ED NY           1:23-cv-04954               Direct Filed             2023-06-30    2023-06-30         NY           TN           FL
179 Hietanen, Katherine                 1:23-cv-02383      USDC, MD TN           3:23-cv-00625            CTO-32, 7/17/23             2023-06-16    2023-07-17         TN           TN
180 Howse, Carolyn F.                   1:23-cv-04602      USDC, ED NY           1:23-cv-04602               Direct Filed             2023-06-21    2023-06-21         NY           TN          TN
181 Hubbard, Jr., Bert                  1:23-cv-04675      USDC, ED NY           1:23-cv-04675               Direct Filed             2023-06-23    2023-06-23        NY            AR          AR          AR
182 Jones, Latrice                      1:23-cv-04229      USDC, ED NY           1:23-cv-04229               Direct Filed             2023-06-08    2023-06-08         NY           TN          TN
183 Kaminsky, Jeanne                    1:23-cv-04869      USDC, ED NY           1:23-cv-04869               Direct Filed             2023-06-29    2023-06-29        NY            CT          CT          CT
184 Kreil, Eduard                       1:23-cv-04851      USDC, ED NY           1:23-cv-04851               Direct Filed             2023-06-28    2023-06-28         NY           NY          NY
185 Mahaney, Ernest                     1:23-cv-04446      USDC, ED NY           1:23-cv-04446               Direct Filed             2023-06-15    2023-06-15        NY            TN          TN
                                       Case 1:22-md-03044-NGG-MMH                                      Document 376-20                        Filed 07/28/23               Page 7 of 7 PageID
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REF# Plaintiff Name(s)5                         MDL Case No.         Transferring Court      Originating Case No.            Transfer Status2           Filing Date      Transfer Date6    Filing State Home State                         Surgery
                                                                                                                                                                                                                          District3
                                                                                                                                                                                                                                            State4
186 Matthews, Wanda                             1:23-cv-05440           USDC, ED NY              1:23-cv-05440                 Direct Filed             2023-07-18         2023-07-18          NY           WY              WY               WY
187 McPhail, Thomas                             1:23-cv-04255           USDC, ED NY              1:23-cv-04255                 Direct Filed             2023-06-09         2023-06-09          NY           TN              TN
188 Moore, Tracy & Jeannie                      1:23-cv-05370           USDC, ED NY              1:23-cv-05370                 Direct Filed             2023-07-14         2023-07-14          NY           AR              AR               AR
189 Mourton, Mary                               1:23-cv-04935           USDC, ED NY              1:23-cv-04935                 Direct Filed             2023-06-30         2023-06-30          NY           OH              OH               OH
190 Mouton, Shelia Loeb                         1:23-cv-05467           USDC, ED NY              1:23-cv-05467                 Direct Filed             2023-07-19         2023-07-19          NY           LA              LA
                                                1:23-cv-04335;                                  1:23-cv-04335;
191 Nelson, Regina                                                      USDC, ED NY                                            Direct Filed             2023-06-23         2023-06-23          NY            TN              TN
                                                1:23-cv-04697                                    1:23-cv-04697
192 Novins, Marian                               1:23-cv-01703          USDC, CD CA              5:23-cv-01246               CTO-32, 7/17/23            2023-06-27                             CA            CA
                                                                                                                                                        2023-02-01;
193 Pandolfo, Joseph                             1:23-cv-01691         USDC, ED MO               4:23-cv-00115               CTO-19; 2/27/23                               2023-03-06          MO           MO                              MO**
                                                                                                                                                        2023-02-09
194 Pasquale, Palmerino                          1:23-cv-05442          USDC, ED NY              1:23-cv-05442                 Direct Filed             2023-07-18         2023-07-18          NY            NY              NY
195 Pochert, Keith                               1:23-cv-03870          USDC, ED NY              1:23-cv-03870                 Direct Filed             2023-05-24         2023-05-24          NY            AR              AR              AR
196 Poore, Janice                                1:23-cv-04438          USDC, ED NY              1:23-cv-04438                 Direct Filed             2023-06-15         2023-06-15          NY            TN              TN
197 Price Jr., Cleveland                         1:23-cv-04447          USDC, ED NY              1:23-cv-04447                 Direct Filed             2023-06-15         2023-06-15          NY            TN              TN
198 Price, Billie J.                             1:23-cv-02817          USDC, ED NY              1:23-cv-02817                 Direct Filed             2023-04-14         2023-04-14          NY            AR              AR              AR
199 Seidwitz, David                              1:23-cv-04437          USDC, ED NY              1:23-cv-04437                 Direct Filed             2023-06-15         2023-06-15          NY            OH              OH              OH
200 Sherfield, Jeffrey                           1:23-cv-04439          USDC, ED NY              1:23-cv-04439                 Direct Filed             2023-06-15         2023-06-15          NY            TN              TN
201 Spense, Mark7                                                       USDC, ED NY                                            Direct Filed             2023-06-09         2023-06-09          NY            TN              TN
202 Stooksbury, Amy                              1:23-cv-04449          USDC, ED NY              1:23-cv-04449                 Direct Filed             2023-06-15         2023-06-15          NY            TN              TN
203 Williams, Durwin                             1:23-cv-05439          USDC, ED NY              1:23-cv-05439                 Direct Filed             2023-07-18         2023-07-18          NY            AR              AR              AR




 7.   Plaintiff Mark Spense has no “MDL Case No.” or “Originating Case No.” because he failed to file his short-form complaint on the correct docket and has not remedied his failure. TPG includes him in this Appendix for the Court’s reference.
